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Termination Notice

The following serves as a termination notice to the Software License and Services Agreement
(“Agreement”) between Equityfeed Corporation and JewMon Enterprises, LLC.

Below are the relevant clauses from the Agreement related to termination of the Agreement:

6. CONFIDENTIAL INFORMATION. Each party shall keep confidential and not disclose to any third
party or use (except as contemplated by this Agreement), any non-public information obtained from the
other party that is marked or otherwise designated confidential ("Confidential Information"), provided,
however, that neither party shall be prohibited from disclosing or using Confidential Information that: (i)
is publicly available or becomes publicly available through no act or omission of the receiving party, (ii) is
or has been disclosed to such party by a third party who is not under an obligation of confidentiality
with respect thereto, (iii) is or has been independently developed by such party, without use or
reference to the other party's confidential information, by persons without access to the same, or (iv)
must be used or disclosed under court order, request of a governmental agency or applicable law,
provided such use or disclosure is to the minimum extent required by such court order, governmental
request or applicable law. JewMon also agrees not to disclose the terms of this Agreement to any third

party.

7. CUSTOMER DATABASE. Notwithstanding anything else contained herein, the parties agree that
the database of Website customers (including all personal information pertaining to such customers)

Shall be jointly owned by the parties. During the term of this Agreement, EquityFeed shall not make use
of the database other than to provide the Services. Upon termination of this Agreement, both parties
shall be free to engage in marketing activities using the database.

8. TERM/TERMINATION. This Agreement shall commence on the Effective Date and continue
thereafter until terminated as described in this Section. If either party materially breaches this
Agreement, the other party may terminate this Agreement by giving the breaching party thirty (30) days
written notice of such breach, unless the breach is cured within the notice period. Either party also may
terminate this Agreement at any time, with or without cause, upon sixty (60) days’ notice. Upon
termination of this agreement for any reason, all use of the Software by JewMon shall cease, the
provision of Services by EquityFeed shall cease, and each party shall return to the other party or destroy
any Confidential Information obtained from the other party. Sections 5 through 13 shall survive any
termination or expiration of this Agreement. Within thirty (30) days of termination of this Agreement,
EquityFeed agrees to remit to JewMon all amounts due or accrued to Jewmon as of the date of such
termination.
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JewMon Enterprises, LLC EquityFeed Corporation

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Per:___ ff zis L ss Per: ¢ re
Signature Signature

Name: Timothy Skyes Name: Stephan Touizer

Title: Managing Director Title: CEO

Address: 80 SW 8th St. Suite 2000 Address: 5485 Pare, Suite 204

Miami, FL 33130 Montreal, Quebec, H4P 1P7

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Date: we z= 3 Date: Ape | ZL Je! >
Case 1:20-cv-22957-RNS Document 1-1 Entered on FLSD Docket 07/17/2020 Page 3 of 4

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JewMon Enterprises, LLC

 

 

 

Signature

Name: Zachary Westphal

Title: Managing Director

Address: 80 SW 8th St. Suite 2000
Miami, FL 33130

Date: L/y 3 fe O/ 5

 

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EquityFeed Corporation

 

 

 

 

Signature

Name: Stephan Touizer

Title: CEO

Address: 5485 Pare, Suite 204
Montreal, Quebec, H4P 1P7

Date: A oe \ pa , Isis
